Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 1 of 70 Page ID #:11




                               EXHIBIT A
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 2 of 70 Page ID #:12
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 3 of 70 Page ID #:13
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 4 of 70 Page ID #:14
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 5 of 70 Page ID #:15
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 6 of 70 Page ID #:16
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 7 of 70 Page ID #:17
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 8 of 70 Page ID #:18
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 9 of 70 Page ID #:19
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 10 of 70 Page ID #:20
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 11 of 70 Page ID #:21
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 12 of 70 Page ID #:22
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 13 of 70 Page ID #:23
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 14 of 70 Page ID #:24
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 15 of 70 Page ID #:25
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 16 of 70 Page ID #:26
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 17 of 70 Page ID #:27
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 18 of 70 Page ID #:28
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 19 of 70 Page ID #:29
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 20 of 70 Page ID #:30
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 21 of 70 Page ID #:31
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 22 of 70 Page ID #:32
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 23 of 70 Page ID #:33
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 24 of 70 Page ID #:34
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 25 of 70 Page ID #:35
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 26 of 70 Page ID #:36
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 27 of 70 Page ID #:37
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 28 of 70 Page ID #:38
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 29 of 70 Page ID #:39
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 30 of 70 Page ID #:40
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 31 of 70 Page ID #:41
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 32 of 70 Page ID #:42
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 33 of 70 Page ID #:43
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 34 of 70 Page ID #:44
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 35 of 70 Page ID #:45
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 36 of 70 Page ID #:46
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 37 of 70 Page ID #:47
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 38 of 70 Page ID #:48
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 39 of 70 Page ID #:49
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 40 of 70 Page ID #:50
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 41 of 70 Page ID #:51
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 42 of 70 Page ID #:52
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 43 of 70 Page ID #:53
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 44 of 70 Page ID #:54
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 45 of 70 Page ID #:55
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 46 of 70 Page ID #:56
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 47 of 70 Page ID #:57
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 48 of 70 Page ID #:58
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 49 of 70 Page ID #:59
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 50 of 70 Page ID #:60
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 51 of 70 Page ID #:61
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 52 of 70 Page ID #:62
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 53 of 70 Page ID #:63
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 54 of 70 Page ID #:64
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 55 of 70 Page ID #:65
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 56 of 70 Page ID #:66
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 57 of 70 Page ID #:67
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 58 of 70 Page ID #:68
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 59 of 70 Page ID #:69
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 60 of 70 Page ID #:70
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 61 of 70 Page ID #:71
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 62 of 70 Page ID #:72
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 63 of 70 Page ID #:73
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 64 of 70 Page ID #:74
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 65 of 70 Page ID #:75
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 66 of 70 Page ID #:76
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 67 of 70 Page ID #:77
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 68 of 70 Page ID #:78
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 69 of 70 Page ID #:79
Case 2:11-cv-03397-JGB-RZ Document 1-2 Filed 07/26/10 Page 70 of 70 Page ID #:80
